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     Attorney for YOLANDA BANKS,
 5   Defendant
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 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    )   No. CR.S-10-421-JAM
                                                  )
12                        Plaintiff,              )   REQUEST AND ORDER ALLOWING
                                                  )   DEFENDANT TO TRAVEL OUTSIDE OF
13          v.                                    )   THE DISTRICT AND THE UNITED STATES
                                                  )   WHILE ON PRETRIAL RELEASE
14   YOLANDA BANKS,                               )
                                                  )
15                        Defendant.              )
                                                  )
16                                                )
17
18          The defendant, Yolanda Banks, is a member of a women’s gospel singing group that has
19   been invited to perform on an ocean cruise at no expense to the group but for air fare.
20   Accordingly, the defendant, by and through her counsel, respectfully requests that she be
21   allowed to travel outside of this District and outside of the United States during the period from
22   October 6, 2011, through October 15, 2011, on the conditions set forth below:
23                  1. The defendant shall be allowed to fly from Sacramento to Miami, Florida, on
24          October 6, 2011, hence to board the ship Carnival Destiny with her singing group,
25          departing Miami on October 8, sailing to Jamaica and the Cayman Islands, and returning
26          to Miami on October 13. The defendant shall then fly from Miami to Sacramento,
27          returning to this District no later than October 15, 2011.
28                                                    ///


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 1                 2. By or before October 3, 2011, the defendant shall provide to Pretrial Services a
 2          detailed itinerary including her flights, hotels and the cruise ship schedule with dates of
 3          ports of call.
 4                 3. The defendant may obtain her passport from Pretrial Services between
 5          October 3, 2011, and her date of departure on October 6, 2011; she must return her
 6          passport to Pretrial Services by or before October 16, 2011.
 7          The defendant has entered a plea and sentencing is now set for November 15, 2011.
 8   The defendant posted her passport as a condition of pretrial release and it remains in the
 9   custody of the Clerk of this court.
10          Defense counsel and Pretrial Services have discussed the wording of this request and
11   proposed order. Pretrial Services cannot, however, approve travel outside of the United States
12   and defers to the District Court to approve the defendant’s travel. Counsel for the Government,
13   Philip A. Ferrari, has reviewed this request and proposed order and has no objection.
14
15   Dated: August 19, 2011                                    /s/ Candace A. Fry
16                                                           CANDACE A. FRY, Attorney for
                                                             YOLANDA BANKS, Defendant
17
18                                               ORDER
19
            IT HEREBY ORDERED:
20
            1. The defendant, Yolanda Banks, shall be allowed to travel on the dates, to the places
21
     and on the conditions set forth above.
22
            2. The Clerk of the District Court shall forthwith provide the defendant’s United States
23
     passport to Pretrial Services.
24
     Dated: 8/22/2011
25
                                           /s/ John A. Mendez
26                                         JOHN A. MENDEZ
                                           UNITED STATES DISTRICT COURT JUDGE
27
28


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